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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Jacqueline Stevens
                                          Plaintiff,
v.                                                          Case No.: 1:17−cv−02494
                                                            Honorable John Z. Lee
United States Department of State
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 9, 2020:


        MINUTE entry before the Honorable John Z. Lee: The Court has reviewed the
status report. On 3/23/20, the Court granted Defendant's motion for summary judgment in
part and denied it in part. The parties inform the Court in the status report that the
remaining issues have been resolved and request that the Court enter judgment in
accordance with the order. Accordingly, judgment is entered in favor of Defendant and
against Plaintiff for the reasons stated in the Court's order of 3/23/20. [70] Civil case
terminated. Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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